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		OSCN Found Document:REINSTATEMENT OF CERTIFICATE OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				REINSTATEMENT OF CERTIFICATE OF CERTIFIED SHORTHAND REPORTERS2020 OK 36Decided: 05/19/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 36, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

RE: Reinstatement of Certificate of Certified Shorthand Reporters
ORDER
The Oklahoma Board of Examiners of Certified Shorthand Reporters recommended to the Supreme Court of Oklahoma that the certificate of each of the Oklahoma Certified Shorthand Reporters named below be reinstated as they have complied with the continuing education requirements for 2019 and annual certificate renewal requirements for 2020 and have paid all applicable fees.
IT IS HEREBY ORDERED pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23, the certificates of the following shorthand reporters are reinstated from the suspension earlier imposed by this Court:


Name

CSR #

Effective Date of Reinstatement


Susan Griggs

943

May 11, 2020


Monique Mason

2001

May 11, 2020


Kortney Houts

1804

April 15, 2020


Dana Burkdoll

1955

April 23, 2020



DONE BY ORDER OF THE SUPREME COURT this 19th day of May, 2020.
/S/CHIEF JUSTICE




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